                         Case 12-29159-LMI              Doc 12         Filed 08/21/12       Page 1 of 2


                 UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                       www.flsb.uscourts.gov
                                 CHAPTER 13 PLAN (Individual Adjustment of Debts)
                         G              Amended Plan (Indicate 1st, 2nd, etc. amended, if applicable)
                         G              Modified Plan (Indicate 1st, 2nd, etc. amended, if applicable)

DEBTOR: John Skippings                           JOINT DEBTOR:                                     CASE NO.: 12-29159

Last Four Digits of SS# 3949            Last Four Digits of SS#
MONTHLY PLAN PAYMENT: Including trustee's fee of 10% and beginning 30 days from filing/conversion date, Debtor(s)
to pay to the trustee for the period of 36         months. In the event the trustee does not collect the full 10%, any portion
not collected will be paid to creditors pro-rata under the plan:
         A.       $ 846.78             for months     1      to      36     ;
         B.       $              for months         to          ;
         C.       $              for months         to          ; in order to pay the following creditors:

Administrative: Attorney's Fee - $                     TOTAL PAID $
                        Balance Due          $                payable $               /month (Months        to       )

Secured Creditors: [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Liens on Real or Personal Property:
Mortgage is current and paid outside the plan.
1.                                         Arrearage on Petition Date $
Address:                                        Arrears Payment       $               /month (Months        to           )
                                                Regular Payment       $               /month (Months        to           )
Account No:

2.                                         Arrearage on Petition Date $
Address:                                        Arrears Payment       $               /month (Months        to           )
                                                Regular Payment       $               /month (Months        to           )
Account No:

3.                                         Arrearage on Petition Date $
Address:                                        Arrears Payment       $               /month (Months        to           )
                                                Regular Payment       $               /month (Months        to           )
Account No:

IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL SECURING
YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED ON YOU PURSUANT
TO BR 7004 and LR 3015-3.

      Secured Creditor     Description of Collateral   Interest       Plan Payments    Months of Payment    Total Plan Payments
                           and Value of Collateral       Rate

 Riverwood                Homestead property              0 %     $ 715.00              1    To    36      $25,740
 Condominium              located at 19208 NE 25th
                          Avenue, Apt302, Miami,
 Association              FL 33180                                                                         Plan payments are
                                                                                                           only for prospective
                          Amount owned on First                                                            association dues.
                          Mortgage according to                                                            Otherwise, the
                          Sch. D
                          $ 221,778.04
                                                                                                           debtor seeks to
                                                                                                           avoid the lien in
                          Value of Association’s                                                           full.
                          interest in the property:
                          $0

                          $                                 %     $                           To

                          $                                 %     $                           To

LF-31 (rev. 01/08/10)
                            Case 12-29159-LMI              Doc 12       Filed 08/21/12          Page 2 of 2

Priority Creditors: [as defined in 11 U.S.C. §507]

1.                                   Total Due   $
                                     Payable     $             /month (Months       to       ) Regular Payment $
2.                                   Total Due   $
                                     Payable     $           /month (Months         to       ) Regular Payment $

Unsecured Creditors: Pay $ 54.80                /month (Months 1           to    36     ).
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

Other Provisions Not Included Above:
Mortgage and car loan are current and paid outside the plan.
I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.
/s/ John Skippings
Debtor                                                           Joint Debtor
Date: 8/21/2012                                                          Date:




LF-31 (rev. 01/08/10)
